                             IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF KANSAS

 In re:
 Antonio Sanchez,                                                       Case No.:
                                                                        Chapter 13
                                                              Debtor.
                                                                                Check if this is an amended plan
                                                                           ☐
                                                                                ____ Amended Plan (e.g., 1st, 2nd)
                                              CHAPTER 13 PLAN

 Section 1:       NOTICES

    Throughout this plan, the singular word “debtor” means both debtors if this is a joint case.

Creditors: Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.
    You should read this plan carefully and discuss it with your attorney if you have one. If you do not have an
attorney, you may wish to consult one.
    If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an
objection to confirmation at least 7 days before the date set for the hearing on confirmation. The Bankruptcy Court
may confirm this plan without further notice if no objection to confirmation is filed. You must file a timely proof of
claim in order to be paid by the Chapter 13 Trustee (“Trustee”) under any plan.

Debtor: You must check one box on each line to state whether the plan includes any of the following items.
For any line, if the “Not Included” box is checked, neither box is checked, or both boxes are checked, and a provision
of that type is included in the plan, the provision will be ineffective.
 A limit on the amount of a secured claim, set out in Section 10 or 11, which
                                                                                  ☐ Included       ☒ Not Included
 may result in a partial payment or no payment at all to the secured creditor
 Non-Standard Provisions (see Section 18)                                         ☒ Included       ☐ Not Included



 Section 2:       EFFECT OF CONFIRMATION

    Confirmation of the plan will be deemed a finding by the Bankruptcy Court that debtor has complied
with all of the applicable sections of 11 U.S.C. §§ 1322 and 1325 and that debtor has fulfilled all pre-
confirmation obligations under 11 U.S.C. § 521. Failure to timely object to confirmation of the plan is
deemed consent to the plan. Confirmation of a plan is without prejudice to and does not affect the standing
and ability of a party to object to a proof of claim, regardless of whether the proof of claim is filed before or
after confirmation of the plan. All future statutory references are to the Bankruptcy Code.


 Section 3:      PLAN TERMS

    3.1 Debtor’s annualized current monthly income for debtor’s state and household size:
        ☒ is below the median and the “Applicable Commitment Period” is 3 years.
        ☐ is above the median and the “Applicable Commitment Period” is 5 years.
    3.2 Plan payments will be $250.00 per month.
    3.3 Plan payments include the following projected amount being paid pursuant to the means test calculation
from Official Form 122C-1 and -2: $0.00
    3.4 Plan payments shall be made by:
        ☐ debtor-pay order directed to debtor OR
        ☒ employer-pay order directed to:



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 ☒ Debtor 1’s Employer                                     ☐ Debtor 2’s Employer

 Payment order to this employer $250.00 per month          Payment order to this employer $ _____ per _____

 Unilever Manufacturing US, Inc.
 2900 W. Truman Blvd
 Jefferson City, MO 65109



    3.5 Additional or varying payments.
        ☒ None. [If “None” is checked, the rest of Section 3.5 need not be completed or reproduced.]
        ☐ Debtor will make additional or varying payments to the Trustee as specified below. For additional
        payments, describe the source, estimated amount, and date of each anticipated payment.


 Section 4:      ADMINISTRATIVE FEES

     4.1 The Trustee will be paid up to 10% on all funds received.
     4.2 Debtor’s attorney fees will be paid through the plan as stated below, subject to modification by the Trustee
of the time period over which fees will be paid as necessary to make the plan feasible. Counsel for debtor reserves
the right to submit additional fee applications, but payment is subject to Court approval. Debtor consents to such
increases in plan payments as may be necessary to pay any approved additional fees. Allowed post-petition
attorney fees not paid through the Trustee will not be discharged and shall be paid directly by debtor to attorney
post-discharge.
 Fees for the case:                                                                $3,650.00
 Case closing fees:                                                                TBD
 Total fees paid to date:                                                          $0.00
 Balance of fees to be paid through the plan:                                      $3,650.00
 Number of months over which fees shall be paid:                                   24


 Section 5:      FILING FEE

    ☐ The filing fee has been paid OR
    ☒ $0.00 has been paid and $310.00 will be paid by the Trustee.


 Section 6:      TAX RETURNS (for the preceding 4 years)

    ☒ have been filed OR
    ☐ have not been filed. Debtor has not filed returns for the following years:


 Section 7:      DOMESTIC SUPPORT OBLIGATIONS

   “Domestic Support Obligation” (DSO) is defined by § 101(14A) and encompasses most child support,
maintenance, and alimony obligations.
   ☒ None. [If “None” is checked, the rest of Section 7 need not be completed or reproduced.]
   ☐ Debtor owes a DSO. (Complete entire section if DSO is owed.)
   7.1 Type of DSO owed: The obligation consists of payments that are:
       ☐ ongoing (post-petition DSO payments)


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         ☐ arrearage.
     7.2 Summary: Below is a summary of all Domestic Support Obligations. For DSO payments being made
through the plan, the Trustee will pay the amount set out in a proof of claim unless the Court sustains an objection
to the claim.
                           Name of Recipient / Payee                                      Pre-petition arrears (if any)
                                                                                      $
                                                                                      $
     7.3 Ongoing post-petition payments: If debtor has an existing order under state law to pay a DSO, that order
will continue and the payment will be made directly to the payee in accordance with that order. If debtor does not
have an existing DSO order, and intends to pay any DSO through payments to the Trustee, debtor must specify
treatment of the ongoing DSO in the “Non-Standard Provisions” (see Section 18).
     7.4 Pre-petition DSO Arrearage: Any pre-petition amount due on a DSO will be:
         ☐ paid in full through the plan by the Trustee, OR
         ☐ paid in full directly through an existing order, OR
         ☐ not paid (and not discharged) because debtor is paying all projected disposable income for a 5 year
     period through the plan and the arrearage has been assigned to a governmental unit as defined by
     § 507(a)(1)(B).
     7.5 DSOs and Discharge: Debtor must pay all DSO arrearages and all ongoing DSO payments in accordance
with this plan to be eligible for a discharge.


 Section 8:       PRIORITY CLAIMS OTHER THAN DOMESTIC SUPPORT OBLIGATIONS

     8.1 General Provision: Debtor will pay all allowed non-DSO priority claims under § 507 without post-petition
interest. The Trustee will pay the amount set out in the creditor’s proof of claim unless the Court sustains an
objection to the claim. If a priority claim creditor also claims a secured debt, the secured portion will be treated as
a secured claim together with the Trustee’s discount rate of interest as of the petition date, except for secured tax
claims, which will be paid interest at the applicable non-bankruptcy rate pursuant to § 511.
     8.2 Amounts Owed: Debtor estimates that these non-DSO priority creditors are owed the amounts indicated.
                                     Creditor                                              Estimated Amount Owed
                                                                                      $
                                                                                      $
     8.3 Discharge: Payment through the Trustee of the principal (and pre-petition interest, if applicable) due on
allowed pre-petition priority claims will result in a full and total discharge of all debtor’s obligations for those claims
to the extent such debts are not otherwise excepted from discharge pursuant to the Bankruptcy Code.


 Section 9:       RELIEF FROM STAY REGARDING PROPERTY TO BE SURRENDERED

    Upon plan confirmation, any stays under § 362(a) and § 1301(a) shall be terminated as to any surrendered
property. This provision does not prevent the earlier termination of the stay by operation of law or by Court order.
Nothing contained in this section operates to permit in personam relief against debtor or to abrogate debtor’s rights
and remedies under non-bankruptcy law. The Trustee shall not make distributions to any secured claimant in this
class, including any assignees and successors in interest of the claimant.
           Property to be Surrendered                                    Creditor with Secured Claim
 2015 Chevrolet Camaro                                        Capital One Auto Finance




 Section 10: TREATMENT OF CLAIMS SECURED BY REAL ESTATE




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    ☒ None. [If “None” is checked, the rest of Section 10 need not be completed or reproduced.]
    10.1 Retention and release. Any secured creditor whose debt is secured by real property will retain its lien
pursuant to § 1325(a)(5) and shall be required to release the lien at the time designated by § 1325(a)(5); provided,
however, that entry of the discharge shall not release a lien that secures a claim being treated under § 1322(b)(5).
    10.2 Maintenance of payments and cure of default, if any. [Check one:]
         ☐ None. [If “None” is checked, the rest of Section 10.2 need not be completed or reproduced.]
         ☐ The current contractual installment payments on the secured claims listed below will be maintained, plus
    any changes required by the applicable contract that are noticed in conformity with applicable rules. These
    payments will be disbursed either by the Trustee or directly by debtor, as specified below. Any existing
    arrearage on a listed claim will be paid in full without post-petition interest through disbursements by the Trustee
    on a pro rata basis. The amounts listed on a filed and allowed proof of claim control over any contrary amounts
    listed below as to the current installment payment and arrearage. If a mortgage note is in default on debtor’s
    Principal Residence, post-petition payments shall be made through the Trustee in accordance with D. Kan. LBR
    3015(b).2, which is incorporated herein. To the extent any provision of this plan conflicts with LBR 3015(b).2,
    the provisions of LBR 3015(b).2 shall control as to the Principal Residence.
       Creditor Name               Street Address of Real        √        Post-            Disbursed by          Estimated
     (and Lien Priority)            Estate (check box if                 petition      Trustee     Direct        Arrearage
                                    Principal Residence)                 Payment
                                                                     $                      ☐           ☐        $
                                                                     $                      ☐           ☐        $
    10.3 Real estate claims to which § 506 valuation (cramdown) is applicable. [Check one.]
         ☐ None. [If “None” is checked, the rest of Section 10.3 need not be completed or reproduced.]
         ☐ For each listed claim, the amount of the secured claim will be paid interest at the Trustee’s discount rate
    in effect on the date the petition was filed, except secured tax claims, which will be paid interest at the applicable
    non-bankruptcy rate pursuant to § 511. The portion of any allowed claim that exceeds the amount of the secured
    claim will be treated as an unsecured claim. For each nongovernmental secured claim listed below, the amount
    of the secured claim is set out in the column headed Collateral Value, which controls over any contrary amount
    listed in a proof of claim. For secured claims of governmental units, the amount of a secured claim set out in an
    allowed proof of claim controls over any contrary amount listed below. “EMA,” referenced below, means
    “estimated monthly amount.” Valuation requires service of the plan in accordance with Federal Rule of
    Bankruptcy Procedure 7004.
       Creditor Name               Street Address of Real        Claim Amount              Collateral            Minimum
     (and Lien Priority)                   Estate                                           Value                  EMA
                                                                 $                     $                     $
                                                                 $                     $                     $
    10.4 Real estate claims to be paid in full during the life of the plan
        ☐ None. [If “None” is checked, the rest of Section 10.4 need not be completed or reproduced.]
        ☐ For each listed claim to be paid by the Trustee, the amount of the secured claim will be paid interest at
    the Trustee’s discount rate in effect on the date the petition was filed, except for secured tax claims, which will
    be paid interest at the applicable non-bankruptcy rate pursuant to § 511. If debtor proposes to pay the real
    estate creditor on a pro rata basis with other secured claims, rather than the fixed monthly amount listed below,
    such provision must be included in the Non-Standard Provisions (see Section 18).
       Creditor Name               Street Address of Real        √       Principal         Monthly          Disbursed by
     (and Lien Priority)            Estate (check box if                 Balance           Payment
                                    Principal Residence)                                                Trustee      Direct
                                                                     $                 $                    ☐         ☐
                                                                     $                 $                    ☐         ☐
    10.5 Wholly unsecured real estate liens (stripoff)
        ☐ None. [If “None” is checked, the rest of Section 10.5 need not be completed or reproduced.]
        ☐ The following claims shall be treated as unsecured because there is no equity in the property to secure
    the claims. These claims are:



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       Creditor Name                 Street Address of          Claim Amount           Collateral         Senior Lien
     (and Lien Priority)                Real Estate                                     Value              Amount
                                                                $                  $                  $
                                                                $                  $                  $

 Section 11: DEBTS SECURED BY PERSONAL PROPERTY

    ☐ None. [If “None” is checked, the rest of Section 11 need not be completed or reproduced.]
    11.1 Lien retention and release
    Any secured creditor whose debt is secured by personal property will retain its lien pursuant to § 1325(a)(5)
and shall be required to release the lien at the time designated by § 1325(a)(5), including “910 car” loan creditors
and “one-year loan” creditors, as defined by the paragraph following § 1325(a)(9).
    11.2 Monthly payments
    “EMA,” referenced below, means “estimated monthly amount.” Valuation requires service of the plan in
accordance with Federal Rule of Bankruptcy Procedure 7004. Debtor proposes to pay personal property
secured creditors the minimum EMA listed below from the funds available to pay those claims, after the deduction
of Trustee fees. If the Trustee has sufficient funds, the Trustee may pay more than the minimum EMA. If the Trustee
has insufficient funds to pay the minimum EMA, the Trustee may adjust the payment so long as the claim will be
paid before plan completion. Otherwise, the monthly payments specified below are minimum amounts, and the
actual amount may vary, depending on the amount of the allowed claim.
    11.3 Interest
    For each listed claim, the amount of the secured claim will be paid interest at the Trustee’s discount rate in
effect on the date the petition was filed, except for secured tax claims, which will be paid interest at the applicable
non-bankruptcy rate pursuant to § 511. The interest rate specified in the plan is binding and supersedes the terms
stated in a proof of claim.
    11.4 Pre-Confirmation Payments
    If debtor proposes to make pre-confirmation payments, the amount stated below will be paid by the Trustee
each month as if the plan were confirmed and will continue to be paid upon confirmation. Any pre-confirmation
payments paid by the Trustee will be credited against the allowed secured claim as though the plan had been
confirmed. To receive any pre-confirmation payment, a creditor must file a claim that is allowed.
    11.5 General Personal Property Secured Claims
    Any non-governmental secured claim listed below (other than “910 car” loan creditors and “one-year loan”
creditors) will be paid the value of the collateral listed below or the amount of the claim, whichever is less, unless
otherwise specified in “Non-Standard Provisions” (see Section 18). The value of collateral listed below controls over
a contrary amount set out in the proof of claim for a non-governmental secured claim. For secured claims of
governmental units, the amount of a secured claim set out in an allowed proof of claim controls over a contrary
amount listed below. The portion of any allowed claim that exceeds the amount of the secured claim will be treated
as an unsecured claim.
           Creditor                     Collateral                   Debt              Value        Minimum EMA
 Nebraska Furniture Mart        Various HHG                     $1,840.00          $1,840.00        $36.00
 Sterling Jewelry/Quantum 3     Misc. Jewelry                   $964.00            $964.00          $19.00
 Wells Fargo Dealer Svcs.       2012 Ford F150                  $22,863.00         $18,000.00       Direct – see §18
   11.6 910 Car Loan Creditors: Each “910 car loan” creditor listed below will be paid the amount of the debt
owed, unless the creditor agrees to be paid less than the full amount.
               Creditor                                Collateral                       Debt        Minimum EMA
                                                                                   $                $
                                                                                   $                $
   11.7 One-Year Loan Creditors: Each “one-year loan” creditor listed below will be paid the amount of the debt
owed, unless the creditor agrees to be paid less than the full amount.
               Creditor                                Collateral                       Debt        Minimum EMA
                                                                                   $                $
                                                                                   $                $



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 Section 12: STUDENT LOAN OBLIGATIONS

    Student loan debt will survive the bankruptcy and is excepted from discharge unless debtor files an adversary
proceeding to determine the dischargeability of that debt and prevails on the merits.


 Section 13: EXECUTORY CONTRACTS AND UNEXPIRED LEASES

    Debtor assumes the executory contracts and unexpired leases listed below and will pay directly to the
respective creditor any pre-petition arrearage and post-petition payments. All other executory contracts and
unexpired leases are rejected.
            Creditor                                         Description of Contract or Lease
 BFP Investments, LLC                   Residential lease




 Section 14: GENERAL UNSECURED CREDITORS

    General unsecured claims will be paid after all secured claims and all other unsecured claims, including
administrative, priority, and separate class claims, in an amount not less than the amount those creditors would
receive if the estate of debtor were liquidated under chapter 7.


 Section 15: BEST INTEREST OF CREDITORS TEST

    Debtor represents that the property listed below would have the specified liquidation value if it were
administered in a chapter 7 case. [List property and explain how the computation of the liquidation value was made,
or attach a separate document explaining computation.]
        a. Total liquidation value: $1319.00
        b. Explanation of calculation: 65% of the value of non-exempt scheduled property is less
    than the administrative expenses to be paid through the plan, so there would be no
    distribution to general unsecured creditors.


 Section 16: VESTING

    All property of the estate will vest in debtor
         ☒ at discharge or dismissal of the case, OR
         ☐ at confirmation.
    [If neither box is checked, it will be deemed that vesting will occur at discharge or dismissal of the case.]

 Section 17: SEPARATE CLASS CREDITORS

   ☒ None. [If neither box is checked, it will be deemed that no separate class creditors exist. If there are no
separate class creditors, the rest of Section 17 need not be completed or reproduced.] OR
   ☐ The creditors listed below are separate class creditors:
                         Creditor                                                     Debt
                                                             $
                                                             $



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        17.1 Separate class creditors will be treated as follows:


 Section 18:      NON-STANDARD PROVISIONS

    Any Non-Standard Provision placed elsewhere in the plan is void. To the extent a Non-Standard Provision
conflicts with any other plan provision, the Non-Standard Provision controls.
    ☐ This plan has no Non-Standard Provisions.
    ☒ This plan has Non-Standard Provisions [Specify section number and topic heading the Non-Standard
    Provision modifies or affects, if any.]:

    Section 11: 1. The Plan shall pay these claims at the Trustee’s discount rate of interest unless the contract rate
    is lower, then the contract rate shall be used.
    2. Claim of Wells Fargo Dealer Services to be paid directly, outside the plan, per the contract, to protect a non-
    filing co-debtor.

    Section 15: Absent court order or other agreement with the trustee, debtor(s) shall turn over to the trustee the
    non-exempt portion of any federal or state tax refund that is a pre-petition asset unless the non-exempt equity
    in the tax refunds is satisfied by the treatment of non-priority unsecured
    creditors.

Debtor signatures (optional if plan signed by counsel)

 s/                                                           s/
 Debtor 1                                                     Debtor 2

 Dated: August 21, 2018                                       Dated: ______________


 Respectfully submitted:

 s/ Robin R. Randolph
 Attorney for Debtor


By filing this document, debtor, if not represented by an attorney, or the attorney for debtor, certifies that the wording
and order of the provisions in this Chapter 13 plan are identical to those contained in the District of Kansas Local
Form plan, other than any provision included in Section 18, “Non-Standard Provisions.”

rev. 11.16.2017




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